                              UNITED STATES DISTRICT COURT
                             EASTERN DISTRICT OF TENNESSEE
                                    AT CHATTANOOGA


 UNITED STATES OF AMERICA                         )
                                                  )
                                                  )          Case No. 1:06-CR-69
 v.                                               )
                                                  )          Chief Judge Curtis L. Collier
                                                  )
 RODNEY BATES                                     )


                                            ORDER

        On December 4, 2007, a mental competency hearing was held for Defendant Rodney Bates

 (“Defendant”) before United States Magistrate Judge Susan K. Lee. At the hearing, Dr. Jason V.

 Dana, Forensic Licensed Clinical Psychologist, testified Defendant did not suffer from a mental

 disease or defect rendering him mentally incompetent to the extent he is unable to understand the

 nature and consequences of the proceedings filed against him or assist his attorney in his defense.

 Defendant did not contest this finding, nor did he call any other witnesses nor provide evidence to

 the contrary.

        Based upon this information, Magistrate Judge Lee has submitted a Report and

 Recommendation (“R&R”), recommending this Court find Defendant competent to stand trial (Court

 File No. 241). This Court ACCEPTS and ADOPTS Magistrate Judge Lee’s R&R (Court File No.

 241), pursuant to 28 U.S.C. § 636(b)(1), and DETERMINES Defendant is competent to stand trial.

        SO ORDERED.

        ENTER:

                                              /s/
                                              CURTIS L. COLLIER
                                              CHIEF UNITED STATES DISTRICT JUDGE




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